  Case 18-32293-KLP           Doc 12     Filed 06/18/18 Entered 06/18/18 09:50:40               Desc
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                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF VIRGINIA
                          RICHMOND DIVISION


RE: Marita Capehart Wilton                                                Case No. 18-32293

                  DIRECTIVE FOR VOLUNTARY PAYMENTS BY DEBTOR

       The debtors having filed a petition under Chapter 13, title 11 U.S.C. or converted this case

from Chapter 7;

       IT IS DIRECTED;

       That commencing immediately and continuing on the 3 0t h d a y of each and every month

thereafter until further Directive from the Trustee, the debtor(s) shall pay to SUZANNE E. WADE,

TRUSTEE, P.O. BOX 983, Memphis Tennessee 38101-0983, the sum of $295.00 per month.

       THIS DIRECTIVE IS ENTERED PURSUANT TO GENERAL ORDER NO. 04-1 OF THE

UNITED STATES BANKRUPTCY COURT.

Dated: June 18, 2018
                                             /S/Suzanne E. Wade
                                             Suzanne E. Wade, Trustee
                                             Eastern District of Virginia, Richmond Division


         The Trustee does hereby certify that a copy of this Directive was mailed to the debtor(s) on
the date above written.

                                             /S/Suzanne E. Wade
                                             Suzanne E. Wade, Trustee
